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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 UNITED STATES OF AMERICA                     )
                                              )
                                              )
                v.                            )       NO. 2:07-CR-25 PS
                                              )
                                              )
 ANGELA DIANE BENNETT and                     )
 JOSE JAVIER LOERA, JR.                       )

                                    OPINION AND ORDER

        Defendants Jose Javier Loera and Angela Diane Bennett have moved to suppress

 evidence seized during a search of a car. The search was proper because Bennett, the driver of

 the car, consented to it and the police officers had probable cause in any event. Accordingly, the

 Motion to Suppress evidence is denied. Loera also has moved to suppress statements made after

 he requested a lawyer. The Court will address this Motion in a later opinion.

                                 I. PROCEDURAL HISTORY

        Before we begin the constitutional analysis at issue in these Motions, a summary of the

 procedural history involving the criminal prosecution of the two Defendants is required.

 Defendants were indicted on May 4, 2005 in case number 2:05-CR-66 in the Northern District of

 Indiana. Defendant Loera filed a Motion to Suppress on July 27, 2005, and the Court held a

 hearing on that motion on October 20, 2005. On December 27, 2005, the Court denied Loera’s

 motion to suppress the evidence seized from the car. Nevertheless, we granted the motion to

 suppress Loera’s statements as the government did not respond to his allegations that the officers

 should have stopped their interrogation after he requested counsel.
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        The case was subsequently continued several times for various reasons.1 On November

 20, 2006, Defendants filed Motions to Dismiss their indictments. Because the Court found that

 an over four-month delay was improperly excluded from the speedy trial computation, it granted

 Defendants’ Motions to Dismiss without prejudice for violation of the Speedy Trial Act, 18

 U.S.C. § 3161, on December 4, 2006.

        The government then re-indicted Defendants on February 7, 2007 in the current case,

 2:07-CR-25. Loera filed the pending Motion to Suppress on April 4, 2007. His motion and

 corresponding Memorandum are nearly identical to those filed in the original indictment.

 Bennett, who did not file a Motion to Suppress in the first indictment, did so in this case also on

 April 4, 2007. During a status conference held on April 12, Bennett’s counsel represented to the

 Court that Bennett had no intention of claiming or testifying that her consent was involuntary.

 Rather, similar to Loera, she argues that the traffic stop was unreasonably delayed and therefore

 unlawful. Accordingly, the Court will rely heavily on its previous Order entered in case number

 2:05-CR-66 in ruling on the pending Motions to Suppress.

                                 II. FACTUAL BACKGROUND

        On December 14, 2004 at approximately 9:12 a.m., Indiana State Police Troopers Jason

 Carmin and Mark Bloom were patroling Interstate Highway 65 in Tippecanoe County, Indiana in

 separate cars. Bloom began to pursue a speeding vehicle which he pulled over. Carmin

 meanwhile observed a green Ford Explorer change lanes without using a turn signal, which is a

 traffic violation for unsafe lane movement. In addition, according to Carmin, the Ford Explorer



        1
           See 12/4/2006 Order [DE 109] for a fuller description of the circumstances regarding
 the continuances.

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 also failed to yield to Bloom’s squad car that was parked on the side of the road, which is

 another traffic violation. Carmin therefore pulled the Ford Explorer over.

        Besides the minor traffic violations, Carmin had other reasons to stop the Ford Explorer.

 During the suppression hearing, Carmin testified that he had received information from Drug

 Enforcement Administration Special Agent Jay Bump, who gave him a description of the car that

 Bennett and Loera were driving and “explained to [Carmin] that it would be beneficial to stop

 the vehicle.” (Supp. Hrg. Tr. 17:7-8 (Case No. 2:05-CR-66 [DE 26]).) According to Carmin, the

 federal agent did not give him any specifics about what might be inside the Explorer. For

 example, DEA Agent Bump did not tell Carmin that there would be drugs in the Explorer.

        Bennett was driving the Ford Explorer. Loera was seated in the front passenger seat.

 Bennett provided Carmin with a Texas driver’s license. Carmin noted that Bennett was nervous;

 her hands were visibly shaking. Carmin asked Bennett to step out of the car. Bennett complied

 although, according to Carmin, it took her nearly a minute to figure out how to open the car

 door. Carmin asked her about her trip. Bennett replied that she had traveled to Georgia with her

 boyfriend, Loera. She stated that they had arrived in Georgia on Thursday, had visited with

 Loera’s father for the holidays, now were driving to Chicago, and planned to return to Texas the

 next day. Bennett mentioned that the Explorer belonged to her brother-in-law, whose name is

 Julio or Jose Avila.

        Carmin then questioned Loera. Loera provided an Illinois identification card and told

 Carmin that the car belonged to his brother-in-law. Loera’s story about the nature of his trip

 differed from Bennett’s. Loera told Carmin that he had been in Georgia visiting his sick father

 for a couple weeks when Bennett, his girlfriend, had come to pick him up. Loera stated that he


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 spent a lot of time in Atlanta with his father, but could not describe where in Atlanta his father

 resided.

        After questioning Loera, Carmin had Bennett return to her car while he wrote a warning

 ticket. Carmin at this time requested that Trooper Bloom come to the location with a narcotics-

 detection dog. Sometime while Carmin was writing the citation, Bloom arrived on the scene

 with Cocoa, a drug-sniffing dog. Carmin then returned to the car, gave Bennett the written

 warning and her and Loera’s documentation, told Bennett to drive safely, and asked if she had

 any questions. Bennett responded that she did not and thanked Carmin for the warning.

        Carmin walked a few steps away from the car but then paused and returned to the car.

 Carmin noticed that Bennett had started to reach for the steering wheel, ready to leave the area.

 Carmin interpreted this action as Bennett feeling free to leave the traffic stop. Carmin then

 asked Bennett if he could ask her some additional questions. Bennett agreed. Carmin discussed

 problems with drug trafficking on the interstate highways. He then asked Bennett if she had

 anything illegal in the car. Bennett replied that she did not and began to open her car door.

 Carmin then asked whether there were any drugs in the car, including marijuana, cocaine or

 heroin. Bennett again replied no to all these questions as she continued to open the door and

 began to exit the car. Carmin found this behavior – her exiting the car without being asked –

 “very unusual.” (Tr. 22:19-20.) Carmin asked if he could search the car, and Bennett gave

 consent for a search. At this point, Carmin did not inform Bennett that she could refuse consent.

 Carmin asked Bennett to sit in his squad car, while he filled out a consent to search form and

 explained it to Bennett. The consent to search form states that the individual can refuse to

 consent. Bennett told Carmin that she understood the consent to search form and signed it.


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        While Bennett was in the squad car with Carmin, Bloom was running Cocoa around the

 exterior of the Explorer. Cocoa sniffed the exterior of the car, and Bloom observed behavioral

 changes in Cocoa near the rear bumper area. Bloom then permitted Cocoa to enter the car, and

 the dog honed in on the rear cargo area. Bloom interpreted this behavior to mean that Cocoa had

 detected the odor of narcotics. Carmin pulled up the carpet and found a door to a hidden

 compartment. Carmin testified that, based on his training and experience, he recognized the

 compartment as a type commonly used by people trafficking drugs or other illegal contraband.

 Both Bennett and Loera were then placed in handcuffs. Carmin opened the compartment after

 determining that it had a magnetic switch. Once opened, Carmin saw several packages (21, to be

 exact) wrapped in black tape. Bennett and Loera claimed that they did not know anything about

 the car and that they had borrowed it. One of the packages was cut open and contained a white

 powdery substance that field-tested positive for the presence of cocaine. After Bennett and

 Loera were transported to Tippecanoe County jail, Carmin and a Tippecanoe county prosecutor

 wrote up a search warrant to remove the contraband from the car.

                                        III. DISCUSSION

        Loera and Bennett seek to suppress the evidence seized from the car because they

 “[were] detained beyond the time required for the initial traffic stop.” (Loera Mem. at 3.) Loera

 states: “Once a traffic stop has been completed, the duration of the detention beyond that time is

 irrelevant because it is unlawful whether it is one second or one hour.” (Id.) During the

 evidentiary hearing on the motion to suppress in case number 2:05-CR-66, Loera also argued

 that the stop was pretextual, that the consent provided by Bennett was involuntary, and that the

 federal agents should have obtained a search warrant. We will address each argument in turn.


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        When a police officer observes a traffic violation, he may stop the offending vehicle. As

 the Supreme Court has noted: “As a general matter, the decision to stop an automobile is

 reasonable where the police have probable cause to believe that a traffic violation has occurred.”

 Whren v. United States, 517 U.S. 806, 810 (1996). Once a stop is properly made, the “officer

 conducting [the] valid traffic stop can detain the occupants of the vehicle long enough to

 accomplish the purpose of the stop.” United States v. Muriel, 418 F.3d 720, 726 (7th Cir. 2005).

        It is permissible for an officer to ask questions unrelated to the initial purpose of a traffic

 stop so long as it does not unreasonably extend the stop. Id. at 725. Therefore, only an

 unreasonable delay during a legal traffic stop is unlawful. See Illinois v. Caballes, 543 U.S. 405,

 407 (2005). For example, in United States v. Childs, 277 F.3d 947, 949-54 (7th Cir. 2002) (en

 banc), the court held that it was a reasonable extension of a traffic stop for an officer to ask the

 driver of the car questions about marijuana and to further inquire as to whether the driver would

 consent to a search of the car. See also United States v. Carpenter, 406 F.3d 915, 916-17 (7th

 Cir. 2005) (holding that a delay of at most five minutes while waiting for a drug-detection dog

 during a traffic stop for evading a red light was not unreasonable).

        Here, Carmin conducted a valid traffic stop based on Bennett’s changing lanes without

 using a turn signal and failing to yield to Bloom’s squad car on the side of the road. Bennett’s

 driving provided Carmin with probable cause to believe that Bennett had committed a traffic

 violation. He gave Bennett a warning ticket and turned away from the car. According to

 Carmin, Bennett had her hands on the wheel and was ready to leave, thus suggesting that she

 thought she was free to go. Carmin then asked for permission to ask some additional questions,

 and Bennett consented. The second round of questioning, although unrelated to the traffic stop,


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 was permissible and did not unreasonably prolong the stop. More importantly, Bennett

 voluntarily consented to the further questioning after she believed she was free to leave. See

 United States v. Finke, 85 F.3d 1275, 1281 (7th Cir. 1996) (encounter becomes consensual when

 a reasonable person would have believed he was free to go thus permitting questions unrelated to

 traffic stop); United States v. Rivera, 906 F.2d 319, 323 (7th Cir. 1990) (finding consent was

 voluntary where defendant was given written warning, identification and cue to leave).

        Furthermore, after questioning Bennett and Loera during the traffic stop, Carmin was

 reasonably suspicious of their behavior and this provides another reason to have extended the

 traffic stop momentarily. “‘Reasonable suspicion’ means ‘some objective manifestation that the

 person stopped is, or is about to be, engaged in criminal activity’” United States v. Johnson, 383

 F.3d 538, 542 (7th Cir. 2004) (citation omitted). “[I]nformation lawfully obtained during [an

 initial traffic stop] may provide the officer with reasonable suspicion of criminal conduct that

 will justify prolonging the stop to permit a reasonable investigation.” United States v. Martin,

 422 F.3d 597, 602 (7th Cir. 2005), cert. denied, 126 S. Ct. 1181 (2006). That’s what happened

 here. Bennett was pulled over for a legitimate reason and then other things developed that

 permitted prolonging the stop. First, Bennett was extremely nervous; her hands were shaking. It

 took her almost a minute just to open the car door. Then, later when she was back inside her car,

 she suddenly opened the car door a second time and tried to exit the car while Carmin was

 asking her questions. Carmin found this highly unusual. Finally, Bennett and Loera had

 inconsistent stories regarding their trip. Based on these factors, Carmin had a reasonable

 suspicion to believe that Bennett and Loera were engaged in criminal activity and to justify




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 further unrelated questions. See Rivera, 906 F.2d at 322 (reasonable suspicions warranted

 limited questioning outside the scope of traffic-related investigation).

        Loera also argues that Carmin’s traffic stop for Bennett’s lane violations was an

 impermissible pretext for pursuing a lead he received from federal agents. But Supreme Court

 cases have repeatedly “foreclose[d] any argument that the constitutional reasonableness of traffic

 stops depends on the actual motivations of the individual officers involved.” Whren, 517 U.S. at

 813; see also United States v. Bass, 325 F.3d 847, 850 (7th Cir. 2003) (“Any ulterior motive an

 officer may have for making the stop is irrelevant.”). Rather, “the only relevant inquiry for

 Fourth Amendment purposes is whether the evidence, when objectively assessed, gave the

 officer probable cause for the stop.” United States v. Rogers, 387 F.3d 925, 934 n.9 (7th Cir.

 2004). Thus, despite the fact that Carmin obviously had an ulterior motive when stopping

 Bennett and Loera – federal agents indicated to Carmin that it would be “beneficial” to stop the

 Explorer – Carmin committed no constitutional violation because he had probable cause that

 Bennett committed a traffic violation.

        Loera further argues that the consent to search was involuntary because Bennett was held

 for a long time, she did not believe she could leave in her car when Carmin walked away, and

 she was not verbally advised that she could refuse the search. Bennett herself has not alleged

 that her consent to search the car was involuntary. The first question is whether Loera has

 standing to challenge the consent search of the car given by Bennett. “[T]he relevant inquiry is

 whether [defendant]’s privacy interests in the [car] were violated by the search . . . .” United

 States v. Cellitti, 387 F.3d 618, 621 (7th Cir. 2004). In other words, if Loera had an expectation

 of privacy in the car, he can challenge the validity of the consent given by Bennett. See id. at


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 621-22. The record is scanty regarding whether Loera had an expectation of privacy in the car.

 However, although the car was borrowed from a third person, Loera and Bennett appear to have

 had common authority over the car. See United States v. Jensen, 169 F.3d 1044, 1048 (7th Cir.

 1999) (noting that defendant who was driving car that was searched and stepfather who owned

 car had at least “common authority over the car”). Therefore, Loera may properly challenge

 Bennett’s consent to search the car. See id. at 1048-49 (defendant challenged his stepfather’s

 consent to search car defendant was driving but that stepfather owned).

        The government can conduct a search based upon an individual’s voluntary consent

 without a warrant or probable cause. See Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973)

 (“It is equally well settled that one of the specifically established exceptions to the requirements

 of both a warrant and probable cause is a search that is conducted pursuant to consent.”)

 (citations omitted). “Voluntariness [of consent] is a question of fact to be determined from all

 the circumstances . . . .” Id. at 248-49. In making this determination, the Court must review

 several factors, “including (1) the age, intelligence, and education of the person who gave

 consent, (2) whether she was advised of her constitutional rights, (3) how long she was detained

 before consenting, (4) whether she consented immediately or only after repeated requests by

 authorities, (5) whether physical coercion was used, and (6) whether she was in police custody at

 the time she gave her consent.” Cellitti, 387 F.3d at 622 (citing Schneckloth, 412 U.S. at 226).

        Based on the evidence presented, Bennett’s consent to the search was voluntary. First,

 Bennett was advised of her constitutional rights when she reviewed the consent form with

 Carmin. Second, Carmin did not detain her longer than necessary for a routine traffic stop.

 Third, Bennett consented to the search when asked the first time. Fourth, there is no evidence


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  that physical coercion was used to obtain the consent. And finally, Bennett was not in police

  custody when she consented to the search. Therefore, once Bennett voluntarily consented,

  Carmin was lawfully permitted to search the car – which he did via a drug-sniffing dog.

         Loera also claims that Carmin did not inform Bennett of her right to refuse the search,

  but the Supreme Court has rejected such a requirement. See Ohio v. Robinette, 519 U.S. 33, 36

  (1996) (holding that the Fourth Amendment does not “require[] that a lawfully seized defendant

  must be advised that he is ‘free to go’ before his consent to search will be recognized as

  voluntary”). It was therefore not necessary for the police to inform Bennett that she could refuse

  to consent to the search. See Schneckloth, 412 U.S. at 231-32 (noting that federal and state

  courts have repudiated the suggestion of advising a subject of a search of his right to refuse

  consent). In any event, the argument is a nonstarter because Carmin did advise Bennett of her

  right to refuse the search while he was reviewing the consent form with her.

         Finally, even if Carmin had not obtained voluntary consent, he still would have been

  permitted to perform an exterior canine sniff. As the Supreme Court held, “[a] dog sniff

  conducted during a concededly lawful traffic stop that reveals no information other than the

  location of a substance that no individual has any right to possess does not violate the Fourth

  Amendment.” Caballes, 543 U.S. at 410; see also City of Indianapolis v. Edmond, 531 U.S. 32,

  40 (2000) (“The fact that officers walk a narcotics-detection dog around the exterior of each car

  . . . does not transform the seizure into a search.”). The traffic stop in this situation was lawful –

  Carmin observed Bennett commit two traffic violations. As noted earlier, “[a] seizure that is

  justified solely by the interest in issuing a warning ticket to the driver can become unlawful if it

  is prolonged beyond the time reasonably required to complete that mission.” Caballes, 543 U.S.


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  at 407. But in this case, the traffic stop was not unreasonably extended for the dog sniff. Rather,

  Bloom and the dog came to the scene while Carmin was writing his citation. Bennett and Loera

  were not forced to wait for the dog to arrive.

         Then, once the dog changed his behavior at the rear of the car to indicate the presence of

  narcotics, the police officer had probable cause to search the car. See United States v. Pittman,

  411 F.3d 813, 817 (7th Cir. 2005) (noting the validity of the “automobile exception” to the

  warrant requirement “that permits the search of an automobile without a warrant when there is

  probable cause to believe that the search will uncover contraband or evidence of crime”)

  (citations omitted). “Probable cause exists if, given the totality of the circumstances, there is a

  ‘fair probability’ that the car contains contraband or evidence.” United States v. McGuire, 957

  F.2d 310, 314 (7th Cir. 1992) (citing Illinois v. Gates, 462 U.S. 213, 238 (1983)). Adding up all

  of the evidence described above (inconsistent stories, extreme nervousness, odd behavior)

  together with the positive alert by the dog, Carmin had probable cause to search the car even

  absent the consent. Carmin was therefore permitted to search any part of the car, including the

  compartment where the drugs were ultimately found. United States v. Ortiz, 84 F.3d 977, 983

  (7th Cir. 1996) (“The scope of the [warrantless] search [under the automobile exception] may

  ‘extend[] to all parts of the vehicle in which contraband or evidence could be concealed,

  including closed compartments and trunks.’”) (quoting United States v. Young, 38 F.3d 338, 340

  (7th Cir. 1994)).




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                                     IV. CONCLUSION

        Defendant Loera’s Motion to Suppress [DE 17] is DENIED with respect to the evidence

  seized from the car. Defendant Bennett’s Motion to Suppress [DE 20] is DENIED.

        SO ORDERED.

        ENTERED: April 16, 2007

                                           s/ Philip P. Simon
                                           PHILIP P. SIMON, JUDGE
                                           UNITED STATES DISTRICT COURT




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